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                                                                            So Ordered.

                            UNITED STATES DISTRICT COURT                    The Clerk of Court is respectfully
                           SOUTHERN DISTRICT OF NEW YORK                    directed to enter judgment
                                                                            accordingly and to close the case.

                                                                            Dated: March 28, 2023
 IN RE FOREIGN EXCHANGE                              No. 13 Civ. 7789 (LGS) New York, New York
 BENCHMARK RATES ANTITRUST
 LITIGATION



                      ____________ ORDER AND FINAL JUDGMENT
                      [PROPOSED]

         LORNA G. SCHOFIELD, District Judge:

         WHEREAS, on October 24, 2022, following a jury trial on the two issues with respect to

which class certification was granted, the Court entered an Order for Judgment in favor of

Defendants Credit Suisse AG, Credit Suisse Group AG and Credit Suisse Securities (USA) LLC

(the “Credit Suisse Defendants”) and against Plaintiffs on their Sherman Act, Section 1 claims in

the Third Consolidated Amended Class Action Complaint (ECF No. 2017);

         WHEREAS, on March 21, 2023, Plaintiffs and the Credit Suisse Defendants filed a joint

stipulation under Rule 15(a)(2) of the Federal Rules of Civil Procedure to file a Fourth

Consolidated Amended Class Action Complaint (“Fourth Amended Complaint”) that dropped all

remaining claims not covered by the Court’s October 24, 2022 Order for Judgment (ECF No.

2047);

         WHEREAS, on March 23, 2023, Plaintiffs and the Credit Suisse Defendants filed a joint

letter motion requesting final judgment be entered against the Fourth Amended Complaint with

Plaintiffs disclaiming any intent to revive the dropped claims;

         IT IS HEREBY ORDERED:

         1.     Judgment is entered in favor of the Credit Suisse Defendants and against Plaintiffs

on the Fourth Amended Complaint; and

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     2.    The Clerk of Courts is directed to enter this judgment and close this case.



DATED: ________________________          _______________________________________
                                         THE HONORABLE LORNA G. SCHOFIELD
                                         UNITED STATES DISTRICT JUDGE




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